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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

Parallel Iron, LLC,

                                       Plaintiff,

              v.
                                                         Civil Action No. 6:11-cv-00036-LED
Accela Communications, Inc., et al.,


                                  Defendants.


               ORDER GRANTING DISMISSAL WITHOUT PREJUDICE
                       AS TO POTOMAC FUSION, INC.

       Before the Court is Plaintiff’s Notice of Dismissal as to Potomac Fusion, Inc.

Accordingly, the Court ORDERS that all claims and causes of action set forth in Plaintiff’s

Complaint against Defendant Potomac Fusion, Inc. are dismissed without prejudice.


      So ORDERED and SIGNED this 14th day of November, 2011.




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                            LEONARD DAVIS
                            UNITED STATES DISTRICT JUDGE
